 Case 1:23-cv-00858-ADA Document 64 Filed 02/06/24 Page 1 of 3


                                                                                FILED
                                                                         February 06, 2024
        United States Court of Appeals                                  CLERK, U.S. DISTRICT COURT
                                                                        WESTERN DISTRICT OF TEXAS

                                                                                      klw
             for the Fifth Circuit                                   BY: ________________________________
                                                                                             DEPUTY
                             ___________

                              No. 23-50668
                             ___________

Book People, Incorporated; VBK, Incorporated, doing
business as Blue Willow Bookshop; Association of
American Publishers; Authors Guild, Incorporated;
Comic Book Legal Defense Fund; American Booksellers
Association,

                                                       Plaintiffs—Appellees,

                                  versus

Martha Wong, in her official capacity as the Chair of the Texas State
Library and Archives Commission; Kevin Ellis, in his official capacity the
Chair of the Texas State Board of Education; Mike Morath, in his official
capacity as the Commissioner of the Texas Education Agency,

                                       Defendants—Appellants.
               ______________________________

               Appeal from the United States District Court
                    for the Western District of Texas
                     USDC No. 1:23-CV-858 ADA
               ______________________________

ORDER:
      A judge of this Court withholds issuance of the mandate in this appeal.



                            LYLE W. CAYCE, CLERK
                            United States Court of Appeals
Case 1:23-cv-00858-ADA Document 64 Filed 02/06/24 Page 2 of 3
                         No. 23-50668




                            for the Fifth Circuit
                            /s/ Lyle W. Cayce

         ENTERED AT THE DIRECTION OF THE COURT




                              2
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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                            February 06, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-50668     Book People, Incorporated v. Wong
                       USDC No. 1:23-CV-858

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk

                                  By: _________________________
                                  Casey A. Sullivan, Deputy Clerk
                                  504-310-7642
Mr. Thomas F. Allen Jr.
Mr. Joshua J. Bennett
Mr. James G. Byrd
Ms. Christina Cella
Mr. Philip Devlin
Mr. Ryan W Goellner
Ms. Kateland R. Jackson
Mr. Peter Drew Kennedy
Mr. Michael Lambert
Mr. Thomas S. Leatherbury
Mr. Garrett Meisman
Mr. JT Morris
Ms. Lanora Christine Pettit
Mr. William Reid Pillifant
Ms. Laura Lee Prather
Mr. Benjamin Edward Prengler
Ms. Catherine Lewis Robb
Mr. Kevin T. Shook
Ms. Catherine Bukowski Smith
Mr. Peter Steffensen
Ms. Linda Steinman
Mr. Chance Weldon
Mr. Benjamin Arnold West
Mr. Coy Allen Westbrook
